






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-02-00302-CV







Michael Curtis, Appellant




v.




Michele Anderson, Appellee







FROM THE COUNTY COURT AT LAW NO. 1 OF TRAVIS COUNTY


NO. 253,411, HONORABLE J. DAVID PHILLIPS, JUDGE PRESIDING






O P I N I O N




	This is an appeal from a summary judgment in a suit brought by appellant Michael
Curtis to recover a diamond ring from appellee Michele Anderson after Curtis terminated the
couple's engagement.  Curtis sued for breach of an oral agreement and conversion, and the trial court
granted Anderson a summary judgment.  Curtis appeals arguing that Anderson was not entitled to
summary judgment because the ring was a conditional gift, and Anderson's possession of the ring
became an unlawful conversion when Anderson refused to return the ring.  We will affirm the
judgment of the trial court.

FACTUAL BACKGROUND


	In the summer of 2000, Curtis and Anderson became engaged to be married.  Curtis
gave Anderson a ring.  Approximately six or eight weeks later, the engagement ended.  Anderson
refused to return the ring to Curtis.  Curtis alleges that at the time that he gave her the ring, Anderson
agreed that if the wedding was called off she would return the ring.

	The only summary judgment evidence before the trial court were excerpts from
Curtis's deposition.  Concerning the agreement to return the ring, Curtis testified that "we had a
mutual understanding that I clearly stated and she accepted that if I did not--if we did not become
married that I would retain--retain the stone."  He admitted that the "mutual understanding" was not
reduced to writing.  When asked who "broke off the engagement," he testified, "I did. . . .  I did it
for several reasons.  One is that I felt like she had some sexual hang-ups.  I felt that she had some
previous general issues with men, and she also had a very volatile temper."  Based on this record,
the trial court granted summary judgment in favor of Anderson.


DISCUSSION


	Anderson's sole ground for seeking summary judgment was that Curtis could not
prevail because the statute of frauds prohibits the enforcement of any alleged oral agreement
concerning return of the ring.  See Tex. Fam. Code Ann. § 1.108 (West 1998).  Curtis argues by his
first issue that the statute of frauds is not applicable; he claims the case is governed instead by the
conditional-gift rule.  According to Curtis, the ring was a conditional gift, and because the contingent
condition of marriage was not met, the gift was not completed and the ring should be returned to
him.  In his second issue, he contends that he presented sufficient evidence to establish the elements
of a tort claim for conversion.


Standard of Review

	The propriety of a summary judgment is an issue of law subject to de novo review. 
Roland v. DaimlerChrysler Corp., 33 S.W.3d 468, 469 (Tex. App.--Austin 2000, pet. denied);
Grocers Supply Co. v. Sharp, 978 S.W.2d 638, 642 (Tex. App.--Austin 1998, pet. denied).  A
defendant is entitled to a traditional summary judgment upon establishing that the plaintiff has no
viable cause of action by either conclusively disproving at least one essential element of each theory
of recovery, Phan Son Van v. Pena, 990 S.W.2d 751, 753 (Tex. 1999), or conclusively proving all
elements of an affirmative defense, American Tobacco Co. v. Grinnell, 951 S.W.2d 420, 425 (Tex.
1997).  If a defendant establishes a right to judgment as a matter of law, the burden shifts to the
plaintiff to raise a fact issue precluding summary judgment.  See City of Houston v. Clear Creek
Basin Auth., 589 S.W.2d 671, 678 (Tex. 1979).  If a summary judgment does not specify the ground
on which it was granted, the judgment will be affirmed on any ground raised in the motion and
supported by the record.  Dow Chem. Co. v. Francis, 46 S.W.3d 237, 242 (Tex. 2001).

	We also apply the following standards to summary-judgment proceedings: (1) a
summary judgment movant has the burden to show that no genuine issue of material fact exists and
it is entitled to judgment as a matter of law; (2) in determining whether a material fact issue exists,
evidence favorable to the nonmovant is taken as true; and (3) every reasonable inference is indulged
in favor of the nonmovant.  Nixon v. Mr. Prop. Mgmt. Co., 690 S.W.2d 546, 548-49 (Tex. 1985); 
Wallerstein v. Spirt, 8 S.W.3d 774, 780 (Tex. App.--Austin 1999, no pet.).


Statute of Frauds

	The application of the conditional-gift rule assumes that there is no binding agreement
between the parties about ownership of the engagement ring should the marriage not occur.  If a
binding agreement between the parties exists, then application of the conditional-gift rule is not
appropriate.  Curtis contends that when he and Anderson became engaged, Anderson agreed that she
would return the ring if they did not marry.  He testified that their "mutual understanding" was an
express agreement, but their "mutual understanding" was not reduced to writing.

	In response, Anderson asserted in her motion for summary judgment that Curtis's
contract and conversion claims could not prevail because of the statute of frauds found in section
1.108 of the family code, which prohibits enforcement of oral agreements in consideration of
marriage.  Tex. Fam. Code Ann. § 1.108 (West 1998).  According to Anderson, even if she agreed
to return the ring, her promise is unenforceable because it is not in writing.

	In 1997, the legislature added section 1.108 to the family code. (1)  It states: 


A promise or agreement on consideration of marriage or nonmarital conjugal
cohabitation is not enforceable unless the promise or agreement or a memorandum
of the promise or agreement is in writing and signed by the person obliged by the
promise or agreement.



Id.  This statutory provision has yet to be interpreted by any court.  We must decide whether section
1.108 encompasses agreements between engaged parties regarding the disposition of engagement
gifts should the engagement fail.  The court's objective in interpreting statutes is to determine
legislative intent.  Continental Cas. Co. v. Downs, 81 S.W.3d 803, 805 (Tex. 2002).  In determining
legislative intent, first we look to the plain and common meaning of the words used by the
legislature.  Tex. Gov't Code Ann. § 311.011(a) (West 1998); Kroger Co. v. Keng, 23 S.W.3d 327,
349 (Tex. 2000).  Unless a statute is ambiguous, courts abide by the clear language of the statute and
enforce it as written.  RepublicBank Dallas, N.A. v. Interkal, Inc., 691 S.W.2d 605, 607 (Tex. 1985).

	Although section 1.108 was obviously intended to apply to prenuptial agreements,
its plain language is broad enough to include Anderson's alleged promise to return Curtis's ring.  An
engagement ring is a special symbol in our culture.  It is traditionally given by a man to a woman
upon the woman's acceptance of the man's proposal of marriage--it is a symbol of the couple's
engagement and their mutual agreement to marry.  Clearly, engagement rings are traditionally given
in contemplation of marriage or "on consideration of marriage."  See Tex. Fam. Code Ann. § 1.108. 
We hold that Curtis's allegation that he and Anderson had expressed their "mutual understanding"
that the ring would be returned if the marriage did not occur comes within the scope of this statute
as written.  Therefore, to be enforceable any such agreement must be in writing.


Conditional-Gift Rule

	In the absence of an enforceable agreement, we turn to the conditional-gift rule. 
Although we agree that the conditional-gift rule applies in this case, it does not operate in Curtis's
favor.  As applied by Texas courts, the rule contains an element of fault.  Texas courts have held that
the rule operates to require that the ring be returned to the donor if the donee is at fault in terminating
the engagement.  See McLain v. Gilliam, 389 S.W.2d 131 (Tex. Civ. App.--Eastland 1965, writ
ref'd n.r.e.); Shaw v. Christie, 160 S.W.2d 989 (Tex. Civ. App.--Beaumont 1942, no writ). (2)  The
court in McLain expressed the rule as follows:


A gift to a person to whom the donor is engaged to be married, made in
contemplation of marriage, although absolute in form, is conditional; and on breach
of the marriage engagement by the donee the property may be recovered by the
donor.



389 S.W.2d at 132.

	In this case, Curtis as donor judicially admitted to terminating the engagement.  He
does not contend that Anderson was at fault in ending the engagement.  His only complaint about
Anderson was her refusal to return the ring after he terminated their relationship.  When asked in his
deposition why he terminated the engagement, he vaguely complained about Anderson's "hang ups"
and her temper.  He made no attempt to justify his action and unequivocally admitted the decision
to end the engagement was his.  Thus, this case involves the opposite situation than that involved
in McLain and Shaw; here, the donor was responsible for breaching the promise to marry.

	This is a case of first impression in Texas.  We have found no Texas case in which
the donor was responsible for terminating the engagement.  We have examined cases in other
jurisdictions, and it appears that most courts apply a conditional-gift rule in adjudicating ownership
of engagement gifts when the marriage fails to occur. (3)  However, there is a split of authority over
injecting the issue fault into the rule.

	Some jurisdictions that have considered similar situations have allowed the donee 
to keep the engagement gift if the donor terminates the engagement. (4)  One court articulated its
reasoning as follows:


On principle, an engagement ring is given, not alone as a symbol of the status of the
two persons engaged, the one to the other, but as a symbol or token of their pledge
and agreement to marry.  As such pledge or gift, the condition is implied that if both
parties abandon the projected marriage, the sole cause of the gift, it should be
returned.  Similarly, if the woman, who has received the ring in token of her promise,
unjustifiably breaks her promise, it should be returned.  When the converse situation
occurs, and the giver of the ring, betokening his promise, violates his word, it would
seem that a similar result should follow, i.e., he should lose, not gain, rights to the
ring.  In addition, had he not broken his promise, the marriage would follow, and the
ring would become the wife's absolutely.  The man could not then recover the ring. 
The only difference between that situation and the facts at bar, is that the man has
broken his promise.



Spinnell v. Quigley, 785 P.2d 1149, 1150 (Wash. Ct. App. 1990) (citing Mate v. Abrahams, 62 A.2d
754, 754-55 (N.J. County Ct. 1948)).

	Others apply the conditional-gift rule without considering fault.  Courts adopting this
no-fault approach reason that (1) it is practically impossible for courts to determine "fault" in the
break-up of an engagement or whether a particular break-up was justified; (2) engagements are
meant to be a period of evaluation, and a party should not be penalized for ending a doomed
relationship; and (3) the underlying public policy favoring no-fault divorces should also apply to
engagements.  See, e.g., Fierro v. Hoel, 465 N.W.2d 669 (Iowa Ct. App. 1990); Heiman v. Parrish,
942 P.2d 631 (Kan. 1997); Benassi v. Back &amp; Neck Pain Clinic, Inc., 629 N.W.2d 475 (Minn. Ct.
App. 2001); Albinger v. Harris, 48 P.3d 711 (Mont. 2002); Aronow v. Silver, 538 A.2d 851, 853
(N.J. Super. Ct. 1987) ("The fault rule is sexist and archaic, a too-long enduring reminder of the
times when even the law discriminated against women."); Vigil v. Haber, 888 P.2d 455 (N.M. 1994);
Gagliardo v. Clements, 580 N.Y.S.2d 278 (N.Y. App. Div. 1992); McIntire v. Raukhorst, 585
N.E.2d 456 (Ohio Ct. App. 1984); Brown v. Thomas, 379 N.W.2d 868 (Wis. Ct. App. 1985).

	Texas courts, including this Court, (5) have applied the fault-based conditional-gift rule
when a donee breaks the engagement.  We believe that the same rule should apply when the donor
defaults.  We hold that absent a written agreement a donor is not entitled to the return of an
engagement ring if he terminates the engagement.

Conversion Claim

	Curtis also complains that the trial court erred in granting summary judgment on his
conversion claim.  He argues that Anderson's retention of the ring once he demanded its return
transformed her continued possession of the ring into conversion.  The tort of conversion is defined
as the (1) unauthorized and wrongful exercise of dominion and control over (2) another person's
property (3) to the exclusion of or inconsistent with the rights of the plaintiff.  Waisath v. Lack's
Stores, Inc., 474 S.W.2d 444, 446 (Tex. 1971); Apple Imports, Inc. v. Koole, 945 S.W.2d 895, 899
(Tex. App.--Austin 1997, writ denied).

	A fundamental element of a conversion cause of action is that the plaintiff be the
owner of or legally entitled to immediate possession of the property allegedly converted.  Kollision
King, Inc. v. Calderon, 968 S.W.2d 20, 23 (Tex. App.--Corpus Christi 1998, no pet.); Lone Star
Beer, Inc. v. Republic Nat'l Bank, 508 S.W.2d 688, 687 (Tex. Civ. App.--Dallas 1974, no writ). 
In order to prevail on his conversion claim, Curtis had to establish his ownership or superior right
to possession of the ring in question.  See id.  Curtis could not make this showing under either the
parties' purported agreement or the conditional-gift rule.  As a result, Anderson was entitled to
judgment on this claim as a matter of law.


CONCLUSION


	We hold that when an agreement between an engaged couple as to the disposition of
engagement gifts is not in writing, any dispute arising over ownership when the engagement is
broken is subject to the fault-based conditional-gift rule.  We affirm the summary judgment granted
by the trial court.



					                                                                                     

					Lee Yeakel, Justice

Before Justices Kidd, B. A. Smith, and Yeakel

Affirmed

Filed:   April 10, 2003

1.   Act of Apr. 3, 1997, 75th Leg., R.S., ch. 7, § 1, 1997 Tex. Gen. Laws 8, 9. 
2.   See also Ludeau v. Phoenix Ins. Co., 204 S.W.2d 1008 (Tex. Civ. App.--Galveston 1947,
writ ref'd n.r.e.); Anderson v. Goins, 187.W.2d 415 (Tex. Civ. App.--Eastland 1945, no writ); Hill
v. Thomas, 140 S.W.2d 875 (Tex. Civ. App.--Beaumont 1940, writ dism'd).
3.   See generally Barbara Frazier, Comment, "But I Can't Marry You": Who is Entitled to the
Engagement Ring When the Conditional Performance Falls Short of the Altar, 17 J. Am. Acad.
Matrimonial Law 419 (2001); Brian L. Kruckenberg, Comment, "I Don't": Determining Ownership
of the Engagement Ring When the Engagement Terminates, 37 Washburn L.J. 425 (1998); Elaine
Marie Tomko, Annotation, Rights in Respect of Engagement and Courtship Presents When Marriage
Does Not Ensue, 44 A.L.R. 5th 1 (1996).
4.   Hahn v. United States, 535 F. Supp. 132 (D. S.D. 1982); Simonian v. Donoian, 215 P.2d
119 (Cal. Ct. App. 1950); White v. Finch, 209 A.2d 199 (Conn. Cir. Ct. 1964); Schulz v. Duitz, 69
S.W.2d 27 (Ky. Ct. App. 1934); Spinnell v. Quigley, 785 P.2d 1149 (Wash. Ct. App. 1990); see also 
Hooven v. Quintana, 618 P.2d 702 (Colo. Ct. App. 1980); Beberman v. Segal, 69 A.2d 587 (N.J.
Super. Ct. 1949).
5.   See Dyess v. Fagerberg, No. 03-93-00148-CV (Tex. App.--Austin Sept. 28, 1994, no writ)
(not designated for publication); McLain v. Gilliam, 389 S.W.2d 131 (Tex. Civ. App.--Eastland
1965, writ ref'd n.r.e.); Shaw v. Christie, 160 S.W.2d 989 (Tex. Civ. App.--Beaumont 1942, no
writ).

